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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                           BROWNSVILLE DIVISION

ANSELMO ESPITIA, ANSELMO                  §
 ESPITIA as Parent and Joint Custodian    §
 of M.E., a minor child, ANSELMO          §
 ESPITIA, as Parent and Joint Custodian   §
 of J.E., a minor child, NINFA ESPITIA,   §   CIVIL ACTION NO. 1:21-CV-123
 and BREANNA ESPITIA                      §
                                          §
Plaintiffs                                §
                                          §
                                          §
VS.                                       §
                                          §
ISLAMIC REPUBLIC OF IRAN                  §
                                          §
Defendant                                 §

                     MOTION FOR DEFAULT JUDGMENT




                                          Submitted by:

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TO THE U.S. DISTRICT JUDGE:

       COMES NOW, Plaintiff Anselmo Espitia and respectfully asks the District Court

to issue a Default Judgment against Defendant Islamic Republic of Iran in accordance

with Rule 55(b). The Defendant was served the lawsuit under the procedures noted by the

FRCP. As of the current date, Defendant did not file an answer, a response, a dispositive

motion, or otherwise defend or dispute the instant case and issues in controversy.

       Plaintiff shows the Court as follows:



                              I. STATEMENT OF CLAIM

       1.      This is a civil action pursuant to the Foreign Sovereign Immunities Act, 28

U.S.C. § 1605A, the Antiterrorism Act, 18 U.S.C. § 2333, and supplemental causes of

action, seeking damages for personal injury and related torts, arising from multiple

terrorist attacks and Improvised Explosive Device (IED) explosions incurred by Plaintiff

ANCELMO ESPITIA on March 20, 2003 through June 2003 in the Sunni Triangle area

of Iraq (location demarcated by Tikrit, Ramadi, Fallujah, and Baghdad) in which the

Plaintiff was severely injured (the “Terrorist Attacks”). These attacks were planned by al

Qaeda terrorist Abu Musab Al-Zarqawi with material support, weapons, training, and

funding from Defendant Islamic Republic of Iran.

       2.      Plaintiff Anselmo Espitia is currently a Texas resident and was a

permanent resident of Texas at the time of the allegations giving rise to this cause of

action. Plaintiff was a combat engineer and 62B construction equipment repairer, serving

on active duty and attached to the 3rd Squadron, 7th Cavalry Regiment, 2nd Brigade

Combat Team, Third Infantry Division.

       Plaintiff was injured during peacekeeping operations, when he and his vehicle


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were hit by multiple Improvised Explosive Devices (IEDs) and Explosively Formed

Projectile (EFP) blasts in May 2003 to June 2003 in the various areas of Iraq. These IEDs

and EFP shaped charges were built in Iran and designed to main, kill, murder, and

destroy U.S. military personnel in their armored vehicles.

       The IEDs and EFP shaped charges were built in Iran and designed to maim, kill,

murder, and destroy U.S. military personnel in their armored vehicles.

       3.      Defendant the Islamic Republic of Iran is, and at all times relevant hereto

was, a foreign state within the meaning of 28 U.S.C. § 1603 and designated as a state

sponsor of terrorism pursuant to section 6(j) of the Export Administration Act of 1979

(50 U.S.C. § 2405(j)). Iran provided material support and resources for the commission

of attempted acts of extrajudicial killing, within the meaning of 28 U.S.C. § 1605A,

including the Terrorist Attacks, authorized and ratified the actions of its officials,

employees and agents described herein, and performed other actions that facilitated,

enabled, and caused the Terrorist Attacks and the harm to the Plaintiff.



        II. LEGAL STANDARDS FOR ENTRY OF DEFAULT JUDGMENT
               AGAINST FOREIGN SOVEREIGN DEFENDANTS


       4.      The entry of default judgment is governed by Fed. R. Civ. P. 55. Despite a

defendant’s refusal to respond to the complaint, “the entry of a default judgment is not

automatic.” See Mwani v. Bin Laden, 417 F.3d 1, 6 (D.C. Cir. 2005). Rather, a plaintiff

seeking a default judgment must establish both subject matter and personal jurisdiction.

See e.g. TracFone Wireless v. Anadisk LLC, 685 F. Supp. 2d 1304, 1310 (S.D. Fla.

2010); Hekmati v. Islamic Republic of Iran, 278 F. Supp. 3d 145, 157 (D.D.C. 2017);

Thuneibat v. Syrian Arab Republic, 167 F. Supp. 3d 22, 33 (D.D.C. 2016).


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        5.      Additionally, under the Foreign Sovereign Immunities Act (FSIA),

plaintiffs must also prove their claims or right to relief by proffering evidence that is

“satisfactory to the court.” 28 U.S.C. § 1608(e); See Compania Interamericana Exp.-

Import, S.A. v. Compania Dominicana de Aviacion, 88 F.3d 948, 951 (11th Cir. 1996);

Roeder v. Islamic Republic of Iran, 333 F.3d 228, 232 (D.C. Cir. 2003) (“The court . . .

has an obligation to satisfy itself that plaintiffs have established a right to relief.”).

        6.      Plaintiff submits exhibits and his verified declaration based on his

knowledge of relevant facts and circumstances surrounding the events giving rise to this

action to establish the Defendant’s liability.



        A. The Standards as to the Type and Quantum of Evidence Required for
           Default Judgments are Less Rigorous than those Required in Contested
           Cases.


        7.      The FSIA requires plaintiffs seeking a default judgment against a foreign

state to establish their claims “by evidence satisfactory to the court.” 28 U.S.C. §1608(e).

Section 1608(e), however, does not provide guidance as to the type or quantum of

evidence that is deemed “satisfactory to the court.” Notwithstanding the statutory void,

courts are to be guided by established principles found in caselaw.

        8.      First, neither § 1608(e) nor any other provision of the FSIA requires a

court to base its decision upon a particular type of admissible evidence. See Owens v.

Republic of Sudan, 864 F.3d 751, 788 (D.C. Cir. 2017). For example, in Owens the D.C.

Circuit held that expert testimony, regardless of its form or type is admissible to prove

ultimate facts, and that such expert testimony, standing alone, may satisfy the evidentiary

burden of §1608(e). The Owens court added that eyewitness testimony or other direct



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evidence are not necessary. Id. at 789.

       Additionally, district courts have “an unusual degree of discretion over

evidentiary rulings” in FSIA cases against a defaulting state sponsor of terrorism. Id. at

785. Because state sponsors of terrorism severely restrict the flow of information,

including sources of admissible evidence, courts have allowed plaintiffs to prove their

claims using evidence that might not be admissible at trial. Id., citing Han Kim v.

Democratic Peoples Republic of Korea, 774 F.3d 1044, 1048-51 (D.C. Cir. 2014). A

plaintiff may not, however, rely exclusively upon inadmissible evidence. Owens, 864

F.3d at 785.

       9.      Second, § 1608(e) does not require a district court to conduct an

evidentiary hearing so long as the plaintiff’s allegations are supported by the evidence.

See Commercial Bank of Kuwait v. Rafidain Bank, 15 F.3d 238, 242 (2d Cir. 1994).

Plaintiffs may carry their burden of production through the submission of documentary

evidence including affidavits and declarations. Id.; Estate of Doe v. Islamic Republic of

Iran, 808 F. Supp. 2d 1, 7 (D.D.C. 2011); see also, Bluth v. Islamic Republic of Iran, 203

F. Supp 3d 1, 17 (D.D.C. 2016); Stansell v. Revolutionary Armed Forces of Colom.

(FARC), No. 8:09-cv-2308-T-26MAP, 2010 U.S. Dist. LEXIS 149212 (M.D. Fla. 2010)

(court may forego a hearing where the plaintiffs submit detailed affidavits describing the

nature and extent of their damages). Moreover, “[u]ncontroverted factual allegations that

are supported by admissible evidence are taken as true.” See Roth v. Islamic Republic of

Iran, 78 F. Supp. 3d 379, 386 (D.D.C. 2015).

       10.     Finally, the quantum of evidence required for entry of summary judgment

under § 1608(e) is the same as that required to defeat a defendant’s motion for summary

judgment. “To prevail in an FSIA default proceeding, the plaintiffs must present a legally


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sufficient prima facie case, in other words, a legally sufficient evidentiary basis for a

reasonable jury to find for the plaintiff.” See Kilburn v. Islamic Republic of Iran, 699 F.

Supp. 2d 136, 150 (D.D.C. 2010). The plaintiff need only present enough evidence “to

satisfy the judge that her claim has some factual basis.” Owens, 864 F.3d at 785. Thus,

under section 1608(e) the quantum and quality of evidence that might satisfy a court can

be less than that normally required.” Owens, 864 F.3d at 785.



 III. THE COURT HAS SUBJECT MATTER AND PERSONAL JURISDICTION
     OVER THIS ACTION AND THE PLAINTIFF HAS ESTABLISHED THE
                     ELEMENTS OF HIS CLAIM


        B. Standards for Subject Matter Jurisdiction

        11.     28 U.S.C. 1330(a) provides district courts with subject matter jurisdiction

over any non-jury civil action against a foreign state as to any claim for relief for which

the foreign state is not immune under the FSIA. See Argentine Republic v. Amerada Hess

Shipping Corp., 488 U.S. 428, 434 (1989); GDG Acquisitions LLC v. Gov’t of Belize, 849

F.3d 1299, 1305 (11th Cir. 2017). Thus, subject matter jurisdiction lies only where the

plaintiffs establish the applicability of a statutory exception to the foreign state

defendant’s immunity. See 28 U.S.C. §§ 1604-1607.

        12.     The Court has subject matter jurisdiction over Defendant Iran under the

terrorism exception to foreign sovereign immunity, which provides in part:

                A foreign state shall not be immune from the jurisdiction of courts of the
                United States or of the States in any case not otherwise covered by this
                chapter in which money damages are sought against a foreign state for
                personal injury or death that was caused by an act of torture, extrajudicial
                killing, aircraft sabotage, hostage taking, or the provision of material
                support or resources for such an act if such act or provision of material
                support or resources is engaged in by an official, employee, or agent of
                such foreign state while acting within the scope of his or her office,


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               employment, or agency.
                                                      See 28 U.S.C. § 1605A(a)(1).


       13.     In the instant case, these elements are all satisfied. The Plaintiff seeks

money damages against Iran for personal injuries and death that were caused by Iran’s

provision of material support and resources for the attempted extrajudicial killing of

Plaintiff Anselmo Espitia.



       C. The Terrorism Exception Applies to Iran

       14.     The terrorism exception allows claims to be heard only against foreign

states that were designated as state sponsors of terrorism at the time of the act of

terrorism and that remain so designated. See 28 U.S.C. § 1605A(a)(2). The term “state

sponsor of terrorism” refers to countries, the governments of which have been designated

by the Secretary of State as having repeatedly provided support for acts of international

terrorism. See 28 U.S.C. § 1605A(h)(6). Iran is presently designated a state sponsor of

terrorism and has been so designated since 1984.1 See Exhibit 1.

       15.     The terrorist attack on Anselmo Espitia was an attempted extrajudicial

killing. Iran provided material support and resources to al Qaeda for the commission of

acts of extra-judicial killing, including the attack on Anselmo Espitia. See Original

Complaint, pages 17-22, items 57-66. Section 1605A adopts the definition of

“extrajudicial killing,” that is codified in the Torture Victim Protection Act of 1991, 28

U.S.C. § 1350 note (“TVPA”). 28 U.S.C. § 1605A(h)(7). The TVPA defines

“extrajudicial killing to mean:

_____________________

1 – See U.S. Department of State Country Reports on Terrorism 2019, see also 31 CFR § 596.201



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                “a deliberated killing not authorized by a previous judgment pronounced
                by a regularly constituted court affording all the judicial guarantees which
                are recognized as indispensable by civilized peoples. Such term, however,
                does not include any such killing that, under international law, is lawfully
                carried out under the authority of a foreign nation.”

                                                        See 28 U.S.C.S. § 1350.


       16.      “On its face, this definition contains three elements: (1) a killing; (2) that

is deliberated; and (3) is not authorized by a previous judgment pronounced by a

regularly constituted court.” Owens, 864 F.3d at 770. The Terrorist attack on Anselmo

Espitia satisfies all three elements, and it “does not fall within the exception for killings

carried out under the authority of a foreign nation acting in accord with international

law.” See id.

       17.      Plaintiff notes that he survived the attack, however he suffers from

multiple permanent and deliberating conditions for which he seeks compensatory

damages. Furthermore, Iran’s liability is established under 28 U.S.C. § 1605A(a)(1), as

Defendant provided material support and resources for the attack. See Exhibits 1-8.

       18.      Abu Musab Al-Zarqawi was a Jordanian jihadist who ran a terrorist

training camp in Afghanistan. He became known after going to Iraq in 2002 and

organizing a series of bombings, beheadings, and attacks during the Iraq War, turning an

insurgency against U.S. troops in Iraq into a Shia-Sunni civil war. He was also known as

‘Sheikh of the Slaughterers’. See Weiss, Michael; Hassan, Hassan (2015). “Sheikh of the

Slaughterers”. ISIS: Inside the Army of Terror. Simon and Schuster.

       19.      In late 2004, Al-Zarqawi joined al Qaeda, and pledged allegiance to

Osama bin Laden. After this, al-Tawhid wal-Jihad became known as Tanzim Qaidat al-

Jihad fi Bilad al-Rafidayn, also known as al-Qaeda in Iraq (AQI), and al-Zarqawi was




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given the al Qaeda title “Emir of al Qaeda in the Country of Two Rivers” See Chehab,

Zaki 2006, Iraq Ablaze: Inside the Insurgency, IB Tauris & Co, Cornwall, p. 8.

       20.       In September 2005, Al-Zarqawi declared “all-out war” on Shi’ites in Iraq,

after the Iraqi government offensive on insurgents in the Sunni town of Tal Afar. Al-

Zarqawi dispatched numerous suicide bombers and IED bombs throughout Iraq to attack

American soldiers and areas with large concentrations of Shia militias. He was also

responsible for the 2005 bombing of three hotels in Amman, Jordan. See Amman

Bombings Reflect Zarqawi's Growing Reach By Craig Whitlock, The Washington Post,

Nov. 13, 2005.

       21.       Zarqawi was killed in a targeted strike by a joint U.S. force on June 7,

2006, while attending a meeting in an isolated safehouse in Hibhib, a small village

approximately 8 km (5.0 mi) west-northwest of Baqubah.

       22.       A year before his death, Zarqawi began to obtain funds from Defendant

and through Defendant’s ties to al Qaeda, in order to purchase advanced weaponry and

smuggle IED bombs and anti-tank shaped charges, capable of destroying U.S. tanks,

vehicles, and armored personnel carriers. Tanks were seen as an important tool (used by

the Americans) as these military assets are armored, provide crew protection, and can

withstand small-arms fire (AK-47s, grenades, RPGs) without damage. The tanks were

used by Coalition forces for stability and peacekeeping operations in support of the

Provisional Authority and lawful government of Iraq.

       23.       Through funding provided by Defendant, Zarqawi had access to large

bank accounts and the capability to buy and smuggle from Iran into Iraq: custom-made

IEDs and shaped-charge munitions (designed to destroy tanks) that were not used by the

old or new Iraqi army.


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       24.     Zarqawi began to purchase these weapons, and smuggle them from Iran

into Iraq to kill U.S. servicemembers and disable tanks. In fact, U.S. forces captured

multiple IEDs that were built in Iran and were being transited into Iraq. These IEDs were

Explosively Formed Penetrators (EFPs) that were engineered and built in Iran.

       25.     The EFPs were compact but potent, and deployed against armored

vehicles in a way similar to traditional IEDs but were much deadlier and more effective.

However, the EFPs are also more complex and difficult to produce. See Figs., 1-3 below.

       26.     The EFPs were shaped like a coffee can but larger, with a concave end.

The device is packed with plastic explosives that turn a copper plate into molten slugs

that when exploded, pass through several inches of armor. The explosion sends molten

and elongated shards of copper tumbling through bodies and vehicles, and produces entry

and exit holes similar to gunshots.

       27.     EFPs killed at least 196 U.S. troops and wounded nearly 900 between

2005 and 2011, defense officials revealed in 2015, and a high number of amputations

throughout the war were the direct result of these terrorist weapons. See DoD discloses

Data on Iraq War Deaths linked to Iran. MILITARY TIMES, Sept. 16, 2015.




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Fig. 1 – Iranian EFP (Explosively Formed Penetrator) used in the attack on Plaintiff
        Anselmo Espitia




Fig. 2 – Components of the Iranian EFP



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        28.     Due to previous U.S. operations that destroyed Iraqi arms depots, Zarqawi

needed to obtain newer munitions from Iran. The EFP used by Zarqawi’s cell against

Plaintiff Anselmo Espitia was purchased using funds provided by the Defendant and then

the components were smuggled from Iran into Iraq.

        29.     During the invasion, and during his service with the 3rd Squadron, 7th

Cavalry, Plaintiff encountered multiple IED attacks when he was patrolling Iraq and

helping to recover vehicles, wounded soldiers, and the remains of U.S. soldiers who were

killed in action.

        30.     Plaintiff experienced multiple explosions, blast waves, and concussive

trauma from these IED attacks.

        31.     Plaintiff was knocked unconscious by the force of one IED blast and

experienced headaches and difficulty concentrating. Unable to obtain medevac transport

due to combat in the active warzone, Plaintiff obtained field treatment and continued to

conduct his mission in Iraq.

        32.     Mr. Espitia suffered a Traumatic Brain Injury (TBI), lower back injury,

damaged disc, tinnitus, and PTSD from this incident. Plaintiff spent months recovering

from his injuries. Mr. Espitia planned to take college courses online and enter Officer

Candidate School to become a commissioned Officer in the Army. However, due to the

terrorist attacks, Espitia suffered from long-term injuries including difficulty with speech,

short-term memory, behavioral changes, and difficulty communicating with others. Thus,

Plaintiff could no longer qualify to complete his Army service as a commissioned

Officer.

        33.     At the time, Al-Zarqawi and al Qaeda were operating in the Al Anbar

province, and specifically the Ramadi and Habbaniya areas. Later, in November 2005,


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Al-Zarqawi claimed responsibility for multiple attacks on U.S. forces in Iraq and said its

military wing, “Downed a Super Cobra attack helicopter in Ramadi with a Strella rocket,

thanks be to God.” The Associated Press also reported that al Qaeda in Iraq claimed

responsibility, noting that it shot down a U.S attack helicopter near Ramadi and killed

two U.S. Marines on November 2, 2005. See Al-Qaida Says It Shot Down U.S.

Helicopter, Killing Two, ASSOCIATED PRESS, November 4, 2005,

https://www.dailynews.com/2005/11/04/al-qaida-says-it-shot-down-us-helicopter-killing-

two (last visited Sep 19, 2019).

       34.     Without Defendant’s support, financing, and supervision of al Qaeda,

Plaintiff Anselmo Espitia, would not have been attacked and maimed while on

peacekeeping operations from May to June 2003 in Iraq.



     IV. IRAN PROVIDED AL QAEDA WITH MATERIAL SUPPORT AND
               RESOURCES FOR THE TERRORIST ATTACK

       35.     After the launch of Operation Enduring Freedom in October 2001 in

response to the September 11 attacks, many members of al-Qaeda, including Osama bin

Laden, fled to the lawless Federally Administered Tribal Areas of Western Pakistan. Key

elements of al Qaeda leadership also escaped to Iran, with Iranian authorities’ assistance.

In late 2001, for example, a senior al Qaeda operative based in Iran, Mustafa Hamid,

negotiated with the Iranian government to relocate al Qaeda families to Iran.

       36.     In 2003, The Washington Post reported on a “decade-old relationship”

between Ayman al-Zawahiri, then al Qaeda’s second-in-command, and Ahmad Vahidi,

Iran’s former Minister of Defense. In 2001, Vahidi reportedly provided “safe harbor for

some al-Qaeda leaders who were trapped in the mountains of Tora Bora” following



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negotiations with al-Zawahiri. According to a European intelligence analyst, “The

[Iranian Quds] Force’s senior leaders have longstanding ties to al Qaeda, and since the

fall of Afghanistan, have provided al Qaeda leaders with travel documents and safe

haven.

         37.   Under such arrangements, key members of al-Qaeda’s operational

structure came to reside in Iran, including such infamous figures as Saif al-Adel (Security

Chief), Saad bin Laden (Osama’s son, Senior al Qaeda Operative), Abdullah Ahmed

Abdullah (alias Abu Muhammad al-Masri, CFO of al Qaeda) and Abu Musab al-Zarqawi

(future Chief of al Qaeda in Iraq).

         38.   Notionally, Iran held these al Qaeda operatives under “house arrest,” but

in reality, al Qaeda was using Iran as a base of operations under the protection of the

Quds Force. One al Qaeda member noted that there were several stages of restrictions,

but in the end, it was “not really house arrest but rather a hospitality.” By providing al

Qaeda operatives such sanctuary, Iran has been in direct violation of U.N. Security

Council Resolution 1390, which prohibits the harboring of al Qaeda members.

         39.   Abu Hafs Mauritani, a leading figure of al Qaeda who was in Iran for

roughly a decade after 9/11, revealed that al Qaeda members agreed not to carry out

attacks from within Iran in exchange for maintaining a safe haven there. Over the next

decade, as a means to further its own regional goals, the Iranian regime would permit al

Qaeda to use its territory to plan terrorist attacks abroad as well as transit money, arms,

and fighters across the region.

         40.   Since 2001, Iran has harbored key al Qaeda operatives. After the 9/11

attacks, al Qaeda’s operational structure split into two groups – Iran and Pakistan. The

first part of al Qaeda’s main operational structure was sent to Iran. This group was led by


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the head of al Qaeda’s Security Committee, Saif al-Adl, and the head of al Qaeda’s

Training Sub-Section, Abdullah Ahmed Abdullah (alias Abu Muhammad al-Masri). The

group also came to include Osama bin Laden’s two sons Hamza and Saad bin Laden.

        41.     In its 2010 “Country Reports on Terrorism,” the U.S. State Department

wrote that “Iran has repeatedly resisted numerous calls to transfer custody of its al Qaeda

detainees to their countries of origin or third countries for interrogation or trial. Iran also

continued to fail to control the activities of some al Qaeda members who fled to Iran

following the fall of the Taliban regime in Afghanistan.” See Exhibit 3.

        42.     In January 2009, the U.S. Treasury Department froze the assets of four

key al Qaeda operatives based in Iran, including Osama bin Laden’s eldest son Saad bin

Laden. Regarding the action, former Under Secretary for Terrorism and Financial

Intelligence, Stuart Levey, stated, “It is important that Iran give a public accounting of

how it is meeting its international obligations to constrain al Qaeda.” See Exhibit 4.

        43.     In fact, as reported as far back as 2003, since Saad bin Laden’s “arrival in

Iran… he has assumed a more active role in directing al Qaeda, and he has been

identified as a senior leader.” It is believed that Iran allowed Saad to relocate to Pakistan

in late 2008.

        44.     In March 2010, al Qaeda assisted Iran in negotiating the return of an

Iranian diplomat who had been held captive by the Taliban in Pakistan for 15 months.

This incident pointed to another dangerous sign of increased Iran-al Qaeda collaboration.

In return for its help, Iran provided al Qaeda operatives based in its territory greater

freedom of movement and loosened restrictions. As one example, al Qaeda’s chief

military strategist who reportedly now resides in Syria, Saif al-Adel, was allowed by Iran

to travel to Pakistan and open more contacts with other al Qaeda leaders.


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        45.     Reports noted that remaining in Iran while possessing the freedom to

travel “suggests that al-Adel and perhaps lower level al Qaeda figures now consider Iran

a viable outpost, with fewer restrictions…” Furthermore, the “apparent easing of Iran’s

restrictions on al Qaeda… now opens up speculation that al-Adel could establish a

‘satellite office' for the group in Iran.”

        46.     In July 2018, a United Nations panel of experts, called the Analytical

Support and Sanctions Monitoring Team, appointed pursuant to resolutions 1526 (2004)

and 2253 (2015), found that, “al Qaida leaders in the Islamic Republic of Iran have

grown more prominent, working with A[y]man al-Zawahiri and projecting his authority

more effectively than he could previously.” See Exhibit 5.

        47.     In November 2020, Iran’s ongoing harboring of al Qaeda operatives was

exposed when the New York Times revealed that Abdullah Ahmed Abdullah, alias Abu

Muhammad Al-Masri, was gunned down in Tehran on August 7, 2020, along with his

daughter, the widow of Hamza Bin Laden. Iran initially sought to obfuscate the identity

of the slain al Qaeda operative, reportedly al Qaeda’s second in command at the time,

with official media organs claiming the victims were a Lebanese history professor

affiliated with Hezbollah and his daughter. See Exhibit 6.

        48.     Al-Masri ordered the al Qaeda bombings of U.S. embassies in Kenya in

Tanzania on August 7, 1998. He was targeted for killing by two gunmen on a motorbike

on the 22nd anniversary of those attacks. According to a senior U.S. official, Israeli

agents acting at the behest of the U.S. carried out the assassination. Although initially

under house arrest, al-Masri had reportedly been living freely in an upscale Tehran

suburb since 2015. Israeli media cited intelligence sources that Iran provided a

permissive environment from which al-Masri planned operations against Israeli and


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Jewish targets around the world.

        49.    From its Iranian safe haven, al Qaeda members have planned terrorist

operations that have killed dozens of people, including Americans. From Iran, Saif al-Adl

helped relay orders from Ayman al-Zawahiri to Tanzim Qaedat fi al-Jazeeratul Arab (the

al Qaeda Organization on the Arabian Peninsula).

        50.    For example, on May 12, 2003, al Qaeda commandos attacked residential

compounds housing foreign workers in Riyadh, Saudi Arabia, killing 35 people,

including eight Americans. The attacks were reportedly planned and ordered by al Qaeda

operatives in Iran, specifically Saif al-Adel and Sa’ad bin Laden. Through the U.N., the

U.S. conveyed its “deep concern that individuals associated with al Qaeda have planned

and directed the attack in Saudi Arabia from inside Iran.”

        51.    According to intelligence sources, Sa’ad was also involved in planning the

April 11, 2002, suicide bombing of a Tunisian synagogue on April 11, 2002, that left 21

dead.

        52.    An intercepted letter reportedly sent to the IRGC in 2008 by Ayman al-

Zawahiri, al-Qaeda’s current leader, revealed an even deeper relationship between Iran

and al Qaeda than previously thought. The correspondence was sent after the September

19, 2008, attacks on the American embassy in Sana’a, Yemen, which killed 19 people.

The Daily Telegraph states, “In the letter, al Qaeda’s leadership pays tribute to Iran’s

generosity, stating that without its ‘monetary and infrastructure assistance’ it would not

have been possible for the group to carry out the terror attacks. It also thanked Iran for

having the ‘vision’ to help the terror organization establish new bases in Yemen after al-

Qaeda was forced to abandon much of its terrorist infrastructure in Iraq and Saudi

Arabia.” See Exhibit 7.


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        53.    Another prime example of the threat posed by al Qaeda’s pipeline in Iran

comes from an al Qaeda plot to derail a train going from New York to Toronto that was

foiled in April 2013. After two of the terrorists had been arrested, Royal Canadian

Mounted Police official James Malizia said, “the individuals were receiving support from

al Qaeda elements in Iran.” See Exhibit 8.



  V. IRAN ACTED THROUGH ITS OFFICIALS, EMPLOYEES, OR AGENTS
      WHO WERE ACTING WITHIN THE SCOPE OF THEIR OFFICES,
                  EMPLOYMENT, OR AGENCIES


        54.    Following the U.S. invasion of Afghanistan, Iran also provided safe haven

to al Qaeda operative Abu Musab al-Zarqawi, who went on to establish al Qaeda in Iraq,

an al Qaeda offshoot that went on to murder untold numbers of Iraqis and Americans.

        55.    Zarqawi initially operated under the protection of the IRGC and its elite

Quds Brigade. According to intelligence officials, the time Zarqawi spent in Iran was

crucial for rebuilding his network before relocating to Iraq. While the Iranian regime

eventually succumbed to U.S. pressure, forcing Zarqawi to leave Iran and arresting many

of his personnel, the damage had already been done: Zarqawi’s network was already

rebuilt, even though the Iranian authorities could have prevented such an outcome at any

time.

        56.    Iran’s support for Zarqawi and other al Qaeda leaders belies the

assumption made by individuals in the intelligence community that Iran’s arrest and

deportation of al Qaeda members underscored Iran’s cooperation with the U.S. War on

Terror. In the words of terrorism analyst Thomas Joscelyn, “Iran’s behavior can be

explained by way of analogy. Like a corrupt cop in league with the mob, the Iranians



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have been willing to clamp down and turn over small-time operatives, while allowing

bigger players to operate with impunity.” Iran provided Zarqawi with such operational

impunity.

       57.      Documents leaked from U.S. military intelligence in 2010 “outline Iran’s

alleged role in brokering arms deals between North Korea and Pakistan-based militants,

particularly militant leader Gulbuddin Hekmatyar and al Qaeda.” In this deal, Hekmatyar

reportedly departed from Iran to North Korea in 2005 “to close a deal with the North

Korean government to obtain remote-controlled rockets to use against coalition aircraft in

Afghanistan.” Further intelligence reports revealed a 2005 “al Qaeda-Hekmatyar plot to

equip suicide bombers and car bombs to attack Afghan government and international

targets - using cars and equipment obtained in Iran.” And lastly, an April 2007 report

detailed an operation in which “al Qaeda, ‘helped by Iran,’ bought 72 air-to-air missiles

from Algeria and hid them in Zahedan, Iran, in order to later smuggle them into

Afghanistan.”



  VI. IRANIAN MATERIAL SUPPORT AND RESOURCES PROVIDED TO AL
        QAEDA CAUSED THE PLAINTIFF’S INJURIES AND DAMAGES


       58.      28 U.S.C. § 1605A(a) includes a proximate causation element. See Ben-

Rafael v. Islamic Republic of Iran, 540 F. Supp. 2d 39, 54 (D.D.C. 2008) (citing Kilburn

v. Socialist People’s Libyan Arab Jamahiriya,, 376 F.3d 1123, 1128-29 (D.C. Cir.

2004)). The causation element of § 1605A, does not require that Plaintiffs prove that the

injury would not have happened but for the defendant’s actions. Kilburn, 376 F.3d at

1128. Neither must they establish a close temporal or spatial proximity between the harm

and the action that caused it. Rux v. Republic of Sudan, 461 F.3d 461, 473 (4th Cir. 2006),


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citing Kilburn, 376 F.3d at 1128.

       59.     Rather, proximate cause under §1605A is established by demonstrating

“some reasonable connection between the act or omission of the defendant and the

damage which the plaintiff has suffered.” Owens v. Republic of Sudan, 864 F.3d 751, 794

(D.C. Cir. 2017); Valore v Islamic Republic of Iran, 700 F. Supp. 2d 52, 66 (D.D.C.

2010). And, the mere fact that al Qaeda and its operatives may have themselves been but

for causes of the Plaintiff’s injuries does not break the causal chain of Iran’s actionable

conduct. “Such a case, in which application of a ‘but for’ standard to joint tortfeasors

could absolve them all, is precisely the one for which courts generally regard ‘but for’

causation as inappropriate.” EIG Energy Fund XIV, L.P. v. Petroleo Brasileiro, S.A., 894

F.3d 339, 346 (D.C. Cir. 2018) citing Kilburn 376 F.3d at 1129.

       60.     Finally, proximate cause does not require the Plaintiff to show the

defendant specifically intended or directly advanced their injuries. Owens, 864 F.3d at

799; Kilburn, 376 F.3d at 1128-29. As the Kilburn court noted, material support is

difficult to trace. 376 F.3d at 1128. Accordingly, the D.C. Circuit, in a unanimous

decision by Judges Garland, Ginsburg, and then-Judge John Robert, adopted a flexible

standard for causation under the terrorism exception to jurisdictional immunity.2 Kilburn,

376 F.3d at 1128-29. The Court noted that material support is difficult to trace Id. at 1129

cf., Boim v. Holy Land Foundation for Relief and Development, 596 F.3d 685, 695-698

(7th Cir. 2008) (en banc) (finding causation and liability under the Anti-Terrorism Act

against a U.S.-based organization that provided funds to Hamas, which killed an

American teen-ager in a drive-by shooting).

       61.     In Owens, the D.C. Circuit held that proximate cause requires (a) that the

defendant’s actions must be a “substantial factor” in the sequence of events leading to the


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plaintiff’s injury, and (b) that the injury must have been a reasonably foreseeable or

anticipated consequence of the defendant’s conduct. Owens, 864 F.3d at 794. Iranian

material support was certainly a substantial factor in the sequence of events leading to the

murder of Gerald White.

        62.     Plaintiff has alleged and provided copious reports and evidence that Iran

supported al Qaeda in Iraq, after the invasion of Iraq, to destabilize the newly-created

provisional Government of Iraq and promote Iran’s desire for a powerful Shia-controlled

geopolitical alliance of Iraq and Iran. See Exhibits 1-8.

        63.     The Terrorist attack on Plaintiff Anselmo Espitia was also both a

reasonably foreseeable and anticipated consequence of Iran’s policy of providing material

support to al Qaeda in Iraq. The very purpose of Iran’s support was to destabilize Iraq

and start a fresh civil war by creating a Sunni power vacuum and filling the vacuum with

Shiite-friendly and Iranian-aligned terrorist groups. See Exhibits 1-8.

        64.     This intent, coupled with the extensive efforts made by Iran through its

officials, employees and agents to maintain al Qaeda as a menacing terrorist organization

(as discussed at length above) easily demonstrates that the Terrorist attack on Anselmo

Espitia was a reasonably foreseeable and anticipated consequence of Iran’s conduct.


              VII. IRAN’S SUPPORT OF AL QAEDA ESTABLISHES LIABILITY
                              IN THE INSTANT CASE


        65.     The agreements between Iran and al Qaeda (and Iran’s comprehensive


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2 - Kilburn was decided under an earlier version of the terrorism exception that was then codified
     at 28 U.S.C. § 1605(a)(7). However, in Owens, 864 F.3d at 794, the D.C. Circuit reaffirmed
     Kilburn’s analysis of the causation standard for the jurisdictional immunity exception, and
     applied it to the current terrorism exception found in 1605A(a).


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involvement with al Qaeda’s operations in Iraq and al Qaeda’s terrorist activities)

demonstrate that Iran was not only a supporter of al Qaeda, but that the two were co-

conspirators.

       66.      “The very sponsorship of terrorist activities inherently involves conspiracy

to commit terrorist acts.” Belkin v. Islamic Republic of Iran, 667 F. Supp. 2d 8, 21-22

(D.D.C. 2009) (quoting Bodoff v. Islamic Republic of Iran, 424 F.Supp.2d 74, 84 (D.D.C.

2006) and Flatow v. Islamic Republic of Iran, 999 F. Supp. 1, 27 (D.D.C. 1998))

(quotation marks omitted)). See also Acosta v. Islamic Republic of Iran, 574 F. Supp. 2d

15, 26-27 (D.D.C. 2008) (same). Because Iran and al Qaeda were co-conspirators, Iran is

liable not only for providing material support and resources for the Terrorist Murder; it is

also directly liable for the extrajudicial killing of Gerald White.

       67.      “Personal jurisdiction over a foreign state shall exist as to every claim for

relief over which the district courts have [subject matter] jurisdiction … where service

has been made under Section 1608 of this title.” 28 U.S.C. § 1330(b); See S & Davis Int'l,

Inc. v. Yemen, 218 F.3d 1292 (11th Cir. 2000) (personal jurisdiction under the FSIA

established by subject matter jurisdiction plus valid service of process); see also Mobil

Cerro Negro, Ltd. v. Bolivarian Republic of Venez., 863 F.3d 96 (2d Cir. 2017). “Neither

compliance with the forum state’s long-arm statute nor minimum contacts between the

defendant and the forum state are required.” See Vermeulen v. Renault, U.S.A., Inc., 985

F.2d 1534, 1553 (11th Cir. 1993) (citations omitted).

       68.      Moreover, every federal court of appeals to have addressed the issue has

held that “[t]he jurisdictional protections of the Due Process Clause do not apply to

‘foreign states and their instrumentalities.’” Price v. Socialist People’s Libyan Arab

Jamahiriya, 294 F.3d 82, 87 (D.C. Cir. 2002) (foreign states are not “persons” entitled to


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due process); see also, Abelesz v. Magyar Nemzeti Bank, 692 F.3d 661, 694 (7th Cir.

2012) (same); Frontera Res. Azer. Corp. v. State Oil Co. of the Azer. Republic, 582 F.3d

393, 399 (2d Cir. 2009) (same); cf., People’s Mojahedin Org. of Iran v. United States

Dep’t of State, 182 F.3d 17, 22 (D.C. Cir. 1999) (“No one would suppose that a foreign

nation had a due process right to notice and a hearing before the Executive imposed an

embargo on it for the purpose of coercing a change in policy.”). The Eleventh Circuit has

not expressly held whether foreign states have due process rights. For example, in S &

Davis Int’l, 218 F.3d, the court of appeals found it unnecessary to address the question

because due process requirements were met.

       69.     Plaintiff asks the Court to follow the rulings of the Second, Seventh and

District of Columbia Circuits and hold that the personal jurisdiction inquiry as to foreign

state defendants does not require due process analysis. However, even if a foreign state is

deemed a “person” for purposes of due process analysis, “a foreign state that sponsors

terrorist activities which causes the death or personal injury of a United States national

will invariably have sufficient contacts with the United States to satisfy Due Process.”

See Flatow v. Islamic Republic of Iran, 999 F. Supp. 1, 23 (D.D.C. 1998).

       70.     As recounted in Plaintiff’s motion for clerk’s entry of default, service

upon Iran was made properly under 28 U.S.C. § 1608(a)(3). The Defendant was served

the summons, complaint, coversheet, and translation in accordance with the FRCP. As of

this date, Defendant has refused to defend the instant case or deny its liability for the

injuries suffered by Anselmo Espitia.



          VIII. PLAINTIFF’S SUBSTANTIVE CLAIMS AGAINST IRAN

       71.     The Plaintiff’s substantive claims arise primarily under the FSIA’s


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statutory cause of action for state sponsorship of terrorism. See Original Complaint, pg 8,

item 25, line 4; 28 U.S.C.§ 1605A(c). “There is almost total ‘overlap between the

elements of [§ 1605A(c)’s] cause of action and the terrorism exception to foreign

sovereign immunity.’” See Fritz v. Islamic Republic of Iran, 2018 U.S. Dist. LEXIS

130008 (D.D.C. 2018), quoting, Foley v. Syrian Arab Republic, 249 F. Supp. 3d 186, 205

(D.D.C. 2017). Thus, “a plaintiff that offers proof sufficient to establish a waiver of

foreign sovereign immunity under § 1605A(a) has also established entitlement to relief as

a matter of federal law.” Fritz, 2018 U.S. Dist. LEXIS at *86.

       72.     In support of this Motion, Plaintiff submits a proposed order, supported by

verified declarations and other exhibits documenting all facts necessary to support a

damages award and entry of judgment therewith. Plaintiff asks the Court to follow the

precedent in Fritz and Foley and provide the Plaintiff relief via an award of compensatory

damages.

       73.     A Federal Court awarding compensatory damages in a wrongful death

claim may refer to State-level jury verdicts to establish the range for an award. Plaintiff

will ask the Court to rely on prior Federal precedent for personal injury claims due to

terrorist attacks and recent State-level jury verdicts for traumatic brain injury. See Braun,

228 F. Supp. 3d at 85; Heiser v. Islamic Republic of Iran, 466 F. Supp. 2d 229, 269

(D.D.C. 2006); Valore v. Islamic Republic of Iran, 700 F. Supp. 2d 52, 85 (D.D.C. 2010).



    IX. PLAINTIFF’S REQUESTED DAMAGES AND OTHER PLAINTIFFS’
                   CLAIMS FOR LOSS OF SOLATIUM


       D. Federal Precedent for Personal Injury due to Terrorist Attacks and Solatium
           Damages



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       74.     The Plaintiff, Anselmo Espitia, is requesting compensatory damages for

the injuries he suffered as a result of multiple IED/EFP blasts he suffered from May 2003

to June of 2003. Other Federal Courts have awarded compensatory damages to survivors

of terrorist attacks organized by the Defendant Islamic Republic of Iran. See Dammarell,

et al. v. Islamic Republic of Iran, et al., Civ. A. No. 01-2224(JDB), 2006 U.S. Dist.

LEXIS 63263 (D.D.C. 2006 Sept. 7, 2006).

       75.     Federal Courts have also allowed families to recover compensatory

damages for the severe emotional injuries they suffered (as a result of terror attacks upon

family members). These damages are known as solatium damages. 28 U.S.C. § 1605(c);

See Braun v. Islamic Republic of Iran, 228 F. Supp. 3d 64, 84 (D.D.C. 2018). Solatium

claims compensate plaintiffs for the mental anguish, bereavement and grief that those

with a close personal relationship to a decedent or terror victim experience as a result of

the victim’s death or severe incapacitation, as well as the harm caused by the loss of

society and comfort. See Braun, 228 F. Supp. 3d at 84 (citations omitted). “Solatium

damages are available to FSIA plaintiffs when extreme and outrageous conduct has

caused grief and anguish to plaintiffs closely related to a victim of terrorism. Acts of

terrorism are by their very definition extreme and outrageous and intended to cause the

highest degree of emotional distress, literally, terror.” Campuzano v. Islamic Republic of

Iran, 281 F. Supp. 2d 258, 273 (D.D.C. 2003).

       76.     Courts addressing the availability and amount of solatium damages in

terrorism cases have traditionally looked to prior similar cases awarding solatium or

emotional damages. See Braun, 228 F. Supp. 3d at 85; Heiser v. Islamic Republic of Iran,

466 F. Supp. 2d 229, 269 (D.D.C. 2006); Valore v. Islamic Republic of Iran, 700 F. Supp.

2d 52, 85 (D.D.C. 2010). Applying this methodology, courts have formulated a widely-


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accepted framework for calculations of damages awarded to victims of international

terrorism. In Heiser, 466 F. Supp. 2d at 269 (D.D.C. 2006), the court surveyed past

terrorism awards in the context of deceased victims of terrorism, and found that parents

of those killed in terrorist attacks typically received damages awards of $5 million and

siblings received $2.5 million.3 The court also specified “baseline” amounts awarded to

other relatives, such as spouses. See id.

        77.     In Braun v. Islamic Republic of Iran, 228 F. Supp. 3d 64, 86 (D.D.C.

2017), the court awarded $2.5 million in compensatory damages to each of the four

grandparents of a baby killed in a terrorist attack. The D.C. Circuit recently agreed that

the Heiser framework reflects reasonable baseline awards, and reaffirmed that “past

solatium awards from comparable cases are appropriate sources of guidance for district

courts.” Fraenkel v. Islamic Republic of Iran, 892 F.3d 348, 361-62 (D.C. Cir. 2018). The

Fraenkel court held that while Heiser is not binding on other courts, it provides a “useful

reference point” to which courts may adhere or depart upwards or downwards in their

damages awards, depending upon the circumstances of the case and the discretion of the

judge. Fraenkel, 892 F.3d at 351. The Court may apply the Heiser framework to the

calculation of non-economic damages in the instant case.


        E. State Precedent for Personal Injury (TBI) and Compensatory Damages for Loss
            of Solatium


78.     Plaintiff also asks the Court to consider recent Texas jury awards as a reference

 point for an appropriate compensatory damages award on a case that involves
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3 – The Heiser decision was issued in 2006. Plaintiff asks the Court to follow the Heiser
     precedent, but adjust the award upward on the basis of inflation (since 2006) and the
     circumstances of the terror attacks on the Plaintiff.



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Traumatic Brain Injury. Plaintiff cites the jury verdict in Robinson v. West Star

Transportation, where the jury awarded the plaintiff compensatory damages of $5.3

Million. In 2015, The Texas Court of Appeals for the Seventh District affirmed the

judgment and ruled that the award amount was appropriate. See West Star Transportation

Inc. v. Charles and Cherie Robinson, Court of Appeals, Seventh District of Texas, No.

07-13-00109-CV (dec’d 1/23/15).


       79.     The injuries in Robinson were Traumatic Brain Injury with no loss of

limbs or paraplegia. The breakdown in Robinson was as follows: $300,000 for past

physical pain and mental anguish; $700,000 for future physical pain and mental anguish;

$168,540 for past loss of earning capacity; $243,184 for future loss of earning capacity;

$5,000 for past physical impairment; $378,718 for past medical care; $3,337,857 for

future medical care, and $400,000 to his wife for loss of consortium.

       80.     Plaintiff cites the verdict in Montoya v. Williams, et al, issued on February

4, 2015, where the 70th State District Court of Ector County, Texas found the Defendant

liable in the amount of $3,655,130 for the plaintiff’s mild traumatic brain injury disorder

that included seizures. See Cindy Montoya v. Billy Duane Williams and Advanced

Simulation Technologies, Inc., 70th District Court of Ector County, Texas, No. A-134,684

(dec’d 2/4/2015).

       81.     Plaintiff also cites the verdict in Menchaca v. National Trampoline

Entertainment Center, issued on February 26, 2016, where a jury for the 334th State

District Court of Harris County, Texas found the Defendant liable in the amount of

$5,000,000 for compensatory damages and $ 6,000,000 for punitive damages as a result

of the defendant’s negligence that caused the plaintiff’s Traumatic Brain Injury. See



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Menchaca v. National Trampoline Entertainment Center, 334th District Court of Harris

County, Texas, No. 201407366 (dec’d 2/26/2016).

       82.     In the three Texas cases cited by Plaintiff: Robinson, Montoya, and

Menchaca, the injuries are consistent with the injuries incurred by Anselmo Espitia in the

instant case: difficulty concentrating, problems with short-term memory, dizziness,

behavioral changes, loss of function, and loss of earning capacity. See Exhibit 9.

       83.     Plaintiff asks the Court to follow the Texas precedents on compensatory

damages due to Traumatic Brain Injury (TBI).



       F. Plaintiffs’ Requested Compensatory Damages

       84.     The decisions rendered in Robinson, Montoya, and Menchaca were not

considered made by runaway juries. Nor was any allegation or argument made that the

verdicts were excessive. Compared with the instant case, the Plaintiff’s damages are

consistent because Plaintiff Anselmo Espitia’s injuries greatly reduce his ability to

function, concentrate, read, remember information, and stay employed. Mr. Espitia also

lost the ability to enter his desired vocation: a commissioned Officer in the Army and a

military retirement pension valued at nearly $2 Million dollars.

       85.     Plaintiffs request Damages in the following amounts:

               a)      $5,000,000 compensatory damages to Anselmo Espitia;

               b)      $1,000,000 loss of solatium damages to Ninfa Espitia, the

                              Plaintiff’s mother;

               c)      $1,500,000 loss of solatium damages to Anselmo Espitia’s

                              son, M.E.;

               d)      $1,500,000 loss of solatium damages to Anselmo Espitia’s


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                              son, J.E.; and

               e)     $1,500,000 loss of solatium damages to Anselmo Espitia’s

                              daughter, Breanna Espitia.


       82.     Plaintiff requests that the Court follow the Dammarell, Heiser, and Braun

decisions. Plaintiff also notes that the Court may grant this motion without a hearing. See

Commercial Bank of Kuwait v. Rafidain Bank, 15 F.3d 238, 242 (2d Cir. 1994).



                                PRAYER FOR RELIEF

       THEREFORE, Mr. Espitia respectfully requests that the District Court enter a

Judgment against Defendant Islamic Republic of Iran in accordance with this Motion,

Proposed Order, and Judgment herein.



   DATED: FEBRUARY 18, 2022                    Respectfully submitted,

                                      By:      /s/ R. Bruce Tharpe
                                               R. Bruce Tharpe

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                                               Olmito, TX 78575
                                               (956) 255-5111 (Tel)

                                               ATTORNEY OF RECORD FOR
                                               PLAINTIFF ANSELMO ESPITIA




                              CERTIFICATE OF SERVICE

I, R. BRUCE THARPE, do hereby certify that on February 18, 2022, this Motion was
served on all parties of record via the SDTX_USDC electronic case filing system.


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Additionally, a copy of this filing was mailed to the Defendant at the Foreign Ministry of
Iran, Imam Kkomeni St, Imam Khomeni Sq, Tehran, Iran 11369114811 via Canada Post.

                                             /s/ R. Bruce Tharpe
                                             R. BRUCE THARPE,
                                             ATTORNEY OF RECORD FOR
                                             PLAINTIFF ANSELMO ESPITIA




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